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Attorneys for Executive Defendants


                IN THE UNITED STATES DISTRICT COURT

       IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


AARON JOHNSON,                          NOTICE OF SUGGESTION OF
                                                DEATH
                         Plaintiff,

v.                                        Case No. 2:18-CV-00029-RJS

LIEUTENANT GOVERNOR                           Judge Robert J. Shelby
SPENCER COX, ATTORNEY
GENERAL SEAN D. REYES, WADE
FARRAWAY, DANIEL BURTON,
SPEAKER OF THE HOUSE GREG
HUGHES, REPRESENTATIVE
REBECCA CHAVEZ-HOUCK, JOHN
FELLOWS, GARY HARTER,

                         Defendants.
     Case 2:18-cv-00029-RJS-DBP Document 15 Filed 02/02/18 Page 2 of 3




         Pursuant to Federal Rule of Civil Procedure 25(a)(1), counsel for Defendant

Wade Farraway provides the following suggestion of death of Mr. Farraway.

         In his Complaint, Plaintiff Aaron Johnson has sued Wade Farraway in his

“personal and official capacit[y].” Compl. at 1. Wade Farraway passed away on

July 13, 2017. Daniel Burton will be substituted for the claims against Mr.

Farraway in his official capacity. Fed. R. Civ. P. 25(d). And the claims against Mr.

Farraway may only be continued as allowed by Federal Rule of Civil Procedure

25(a).

         DATED: February 2, 2018

                           OFFICE OF THE UTAH ATTORNEY GENERAL


                           /s/ Kyle J. Kaiser
                           KYLE J. KAISER
                           Assistant Utah Attorney General
                           Attorney for Defendant Farraway




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                         CERTIFICATE OF MAILING

      I certify that on February 2, 2018I electronically filed the foregoing, Notice
of Suggestion of Death using the Court’s electronic filing system. I also certify
that a true and correct copy of the foregoing was sent via FedEx First Overnight
(tracking no. 771391547393) to the following:

Aaron Johnson
646 W 500 N
Salt Lake City, UT 84116



                           /s/         Kyle J. Kaiser




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